






TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN






NO. 03-07-00692-CR






Harvey Chynoweth, Appellant



v.



The State of Texas, Appellee






FROM THE COUNTY COURT AT LAW NO. 1 OF HAYS COUNTY


NO. 82824, HONORABLE HOWARD WARNER, JUDGE PRESIDING






M E M O R A N D U M   O P I N I O N



Appellant Harvey Chynoweth pleaded no contest to driving while intoxicated, second
offense.  See Tex. Penal Code Ann. § 49.04(a) (West 2003), § 49.09(a) (West Supp. 2007).  The
trial&nbsp;court adjudged him guilty and assessed punishment at one year in jail and a $700 fine.  As called
for&nbsp;in a plea bargain, the court suspended imposition of sentence and placed appellant on community
supervision for two years.  In his only point of error, appellant contends that the trial court erred
by&nbsp;overruling his pretrial motion to suppress evidence.  We overrule this contention and affirm
the&nbsp;conviction.

The only witness at the suppression hearing was San Marcos Police Officer
Paul&nbsp;Beller.  Beller testified that at 3:21 a.m. on July 15, 2006, he was parked at a gas station at the
intersection of Interstate 35 and Wonder World Drive when he received a dispatch reporting a
possible intoxicated driver traveling north on the interstate and exiting at Wonder World.  Beller
spotted a car matching the description he had been given approach the intersection.  Beller testified:


That vehicle failed to stop at the designated point at the intersection, passing the stop
sign, entering into the opposing lane of traffic which then drew my attention to it. 
I then followed said vehicle northbound on the east access road, observed it failing
to maintain single lanes of traffic, then initiated a traffic stop near the east access at
123.



Beller testified that the vehicle did not immediately respond to his signal to stop.  Instead, it "turned
northbound onto 123 crossing the broken turn lane line, which failed to maintain a lane of traffic,
proceeded northbound on 123 which turns into Guadalupe . . . ."  The vehicle eventually stopped
after Beller activated his siren two times.  Appellant was the driver of the vehicle.  Based on his
observations of appellant following the stop, Beller arrested him for driving while intoxicated.

During cross-examination, Beller was asked, "[W]hat violations of law did you
observe?"  He answered, "Failed to maintain a single lane of traffic or failed to drive in a single
lane."  Asked if he observed any other violations, Beller replied, "Other than putting a blinker on
within a required distance when turning left."  Based on these responses, appellant argues that Beller
did not have reasonable suspicion to stop him.  Beller testified that there were no other vehicles in
the area, and appellant argues that his one failure to maintain a single lane did not give the officer
reasonable suspicion to believe that he had observed a lane violation.  See Tex. Transp. Code Ann.
§ 545.060 (West 1999); State v. Huddleston, 164 S.W.3d 711, 716 (Tex. App.--Austin 2005,
no&nbsp;pet.); Aviles v. State, 23 S.W.3d 74, 77 (Tex. App.--Houston [14th Dist.] 2000, pet. ref'd). 
Appellant argues that Beller's testimony that he did not see appellant use a "blinker" does not
exclude the possibility that appellant signaled his turn by hand.  See Tex. Transp. Code Ann.
§&nbsp;545.106 (West 1999).

We review a trial court's ruling on a motion to suppress evidence for an abuse of
discretion.  Villareal v. State, 935 S.W.2d 134, 138 (Tex. Crim. App. 1996).  In this review, we defer
to the district court's factual determinations but review de novo the court's application of the law
to the facts.  Guzman v. State, 955 S.W.2d 85, 89 (Tex. Crim. App. 1997).  We will sustain the trial
court's ruling admitting evidence if the ruling is reasonably supported by the record and correct on
any theory of law applicable to the case.  Willover v. State, 70 S.W.3d 841, 845 (Tex. Crim. App.
2002).  Because the court below did not make explicit findings of fact, we review the evidence in
the light most favorable to the court's ruling and assume the court made findings that are supported
by the record and buttress its conclusion.  Carmouche v. State, 10 S.W.3d 323, 327-28 (Tex. Crim.
App. 2000).

Beller's testimony that appellant "failed to stop at the designated point at
the&nbsp;intersection, passing the stop sign" was sufficient to warrant a finding that the officer had
reasonable suspicion to believe that appellant failed to comply with the stop sign at the intersection. 
See Tex. Transp. Code Ann. § 544.010 (West 1999).  Although Beller did not mention appellant
running the stop sign when he was later asked by defense counsel to identify the violations he had
observed, we must assume that the trial court found Beller's earlier testimony to be true. 
Accordingly, we hold that reasonable suspicion was shown, and that the trial court did not err by
overruling the motion to suppress.


The judgment of conviction is affirmed.



				__________________________________________

				Jan P. Patterson, Justice

Before Justices Patterson, Waldrop and Henson

Affirmed

Filed:   August 13, 2008

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